IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Chapter 13 Proceeding
Kenyatta C Williamson
20-12842-ame

Debtor(s)
Kenyatta C Williamson

Movant
v.
U.S. BANK NATIONAL ASSOCIATION,
AS TRUSTEE FOR SASCO MORTGAGE
LOAN TRUST 2006-WF2

Respondent

RESPONSE TO

DEBTOR'S MOTION TO RECONSIDER ORDER GRANTING RELIEF FROM THE AUTOMATIC
STAY AND TO REINSTATE THE AUTOMATIC STAY

AND NOW, comes U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR SASCO

MORTGAGE LOAN TRUST 2006-WF2 (Respondent) by and through its counsel, POWERS KIRN,

LLC and hereby Responds to DEBTOR'S MOTION TO RECONSIDER ORDER GRANTING RELIEF

FROM THE AUTOMATIC STAY AND TO REINSTATE THE AUTOMATIC STAY and avers the

following:

1. The allegations of this paragraph refer to a written document which speaks for itself.

2. The allegations of this paragraph refer to a written document which speaks for itself.

3. The allegations of this paragraph refer to a written document which speaks for itself.

4, Denied. Respondent lacks knowledge or information sufficient to respond to the
allegations of the corresponding paragraph. Strict proof if demanded at the time of
hearing.

5. The allegations of this paragraph refer to a written document which speaks for itself.

6. The allegations of this paragraph refer to a written document which speaks for itself.

7. Denied. Respondent lacks knowledge or information sufficient to respond to the

allegations of the corresponding paragraph. Strict proof if demanded at the time of

hearing.
WHEREFORE, Respondent respectfully requests the Honorable Court ORDER:

DEBTOR'S MOTION TO RECONSIDER ORDER GRANTING RELIEF FROM THE
AUTOMATIC STAY AND TO REINSTATE THE AUTOMATIC STAY relating to the property
located at 1017 Minden Lane, Collingdale, PA 19023 is DENIED.

RESPECTFULLY SUBMITTED,
POWERS KIRN, LLC

By:__/s/ Karina Velter, Esquire

Jill Manuel-Coughlin, Esquire; ID 63252
Harry B. Reese, Esquire; ID 310501
Karina Velter, Esquire; ID 94781

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Date: January 30, 2024

